      Case 1:17-mj-00929-RMM Document 1-1 Filed 12/04/17 Page 1 of 12




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 IN THE MAT1ER OF THE SEARCH OF
 INFORMATION ASSOCIATED WITH        MAG. No.
 dnymack@gmad.com THAT IS STORED AT
 PREMISES CONTROLLED BY GOOGLE
 INC.

                             AFFIDAVIT IN SUPPORT OF
                      AN APPLICATION FOR A SEARCH WARRANT

        I, Dramous K. Lofton, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

        1.     I make this affidavit in support of an application for a search warrant for

information associated with a certain account that is stored at premises controlled by Google

Inc., a provider of e-mail and other internet-related services headquartered at 1600 Amphitheatre

Parkway in Mountain View, California. The info'. nation to be searched is described in the

following paragraphs and in Attachment A. This affidavit is made in support of an application

for a search warrant under 18 U.S.C. §§ 2703(a), 2703(b)(1)(A), 2703(c)(1)(A), and 3512(a), to

require Google Inc. to disclose to the government copies of the information (including the

content of communications) further described in Section I of Attachment B. Upon receipt of the

information described in Section I of Attachment B, government-authorized persons will review

that information to locate the items described in Section II of Attachment B, using the procedures

described in Section III of Attachment B.

       2.      The information requested in this search warrant is being sought pursuant to a

request for assistance ("Request") from the Federal Office of Justice in Bonn, Germany,

transmitted to Washington, D.C., on or about November 13, 2017. Authorities in Gettnany are

investigating manslaughter offenses in violation of the criminal laws of Germany, specifically,
       Case 1:17-mj-00929-RMM Document 1-1 Filed 12/04/17 Page 2 of 12




sections 25 and 212 of the Criminal Code of Germany. Copies of the applicable laws are

appended to this affidavit.

        3.     The Request is made pursuant to the Treaty Between the United States of

America and the Federal Republic of Getmany on Mutual Legal Assistance in Criminal Matters,

U.S.-F.R.G., Oct. 14, 2003, S. TREATY DOC. NO. 108-27 (2004), as supplemented by the

Supplementary Treaty to the Treaty Between the United States of America and the Federal

Republic of Germany on Mutual Legal Assistance in Criminal Matters, U.S.-F.R.G., April 18,

2006, S. TREATY DOC. NO. 109-13 (2006) (hereinafter, the "Treaty"). Under the Treaty, the

United States is obligated to render assistance in response to this Request.

       4.      I am a Special Agent with the Federal Bureau of Investigation, and have been

since April of 2011. I am currently assigned to the International Operations Division, Mutual

Legal Assistance Treaty Unit. My current duties include responding to request from foreign

governments pursuant to Mutual Legal Assistance Treaties, including serving as the affiant on

search warrants affidavits, serving search warrants, and reviewing the data received for the

relevance in compliance with parameters of the search warrants. In my past assignments I have

assisted in investigations of federal criminal violations related to high technology or cyber-

crimes. I have gained experience through various trainings and conferences. I have also worked

violent crime and major offender matters, giving me extensive experience in the execution of

search warrants and analysis of collected evidence. I was previously employed for seven years

with the West Haven Police Department, West Haven, Connecticut. There I also drafted and

executed search warrants.


       5.      The facts set forth in this affidavit are based upon information conveyed to the

United States via a request made pursuant to the Treaty by authorities in Germany and upon my
                                                2
        Case 1:17-mj-00929-RMM Document 1-1 Filed 12/04/17 Page 3 of 12




 training and experience. This affidavit is intended to show merely that there is sufficient

 probable cause for the requested warrant and does not set forth all of my knowledge about this

 matter.


           6.    Based on my training and experience and the facts as set forth in this affidavit,

there is probable cause to. believe that violations of the criminal laws of the Germany have been

committed by Denny Mack ("Mack") and Jana Frey ("Frey"). There is also probable cause to

search the information described in Attachment A for evidence, instrumentalities, contraband or

fruits of these crimes further described in Attachment B.

                                           JURISDICTION

           7.    This Court has jurisdiction to issue the requested warrant because it is "a court of

competent jurisdiction" as defined by 18 U.S.C. § 2711. See 18 U.S.C. § 2703(a), (b)(1)(A) &

(c)(1)(A). Specifically, the Court "is acting on a request for foreign assistance pursuant to

[18 U.S.C.] section 3512. . . ." 18 U.S.C. § 2711(3)(A)(iii); see also 18 U.S.C. § 3512(a)(2)(B)

(court may issue "a warrant or order for contents of stored wire or electronic communications or

for records related thereto, as provided under section 2703"), § 3512(c)(3) ("application for

execution of a request from a foreign authority under this section may be filed. . . in the District

of Columbia").

        8.      This application to execute the Germany's request has been approved and duly

authorized by an appropriate official of the Department of Justice, through the Office of

International Affairs ("OIA").1 See 18 U.S.C. § 3512(a). An OIA attorney has reviewed the



  The Attorney General, through regulations and Department of Justice directives, has delegated to the
Office of International Affairs the authority to serve as the "Central Authority" under treaties and
executive agreements between the United States and other countries pertaining to mutual assistance in
                                                      3
        Case 1:17-mj-00929-RMM Document 1-1 Filed 12/04/17 Page 4 of 12




request, confu Lied that it was submitted by authorities in Germany in connection with a criminal

investigation and/or prosecution, and authorized the undersigned to file this application.

                                        PROBABLE CAUSE

        9.      According to German authorities, at approximately 5:00 P.M. on March 24, 2017,

the 81-year-old victim was stabbed ten times during a home invasion. German emergency

services received a call from the victim's phone number at 5:00:07 P.M., presumably from the

victim, but the victim could no longer speak. She died while on the phone from her injuries.

        10.     One of the perpetrators left a silver men's necklace at the scene. When a picture

of this necklace was publicized shortly after the murder, Mack's mother contacted authorities

and identified the chain as belonging to her son. She lived in the same building as the victim and

was concerned that her son, who was a drug addict in need of money, may have killed the victim.

        11.     The same day that Mack's mother came forward, Frey's father called the police to

report that his daughter was missing. He noted that his daughter had been with someone named

"Denny" that she knew from a psychiatric clinic.

        12.     Authorities inquired at the psychiatric ward and learned that Mack and Frey had

both been there until a few weeks before the murder. On March 29, 2017, a local court issued

arrest warrants for Mack and Frey. That same day, Frey called a police officer that she knew

from her personal phone and reported that Mack had abducted her and they were currently in

southern Spain. She further asserted that Mack had killed the victim.

        13.    On March 31, 2017, pursuant to an emergency disclosure request submitted by the

Federal Bureau of Investigation, Google produced geolo cation records from March 23 to 25,


criminal matters. See 28 C.F.R. §§ 0.64-1, 0.64-4, and Appendix to Subpart K, Directive Nos. 81A and
81B (2015).
       Case 1:17-mj-00929-RMM Document 1-1 Filed 12/04/17 Page 5 of 12




2017, for Frey's phone associated with the Google account lilienmaedchen1898@gmail.com.

The pair was arrested on the same day in Spain.

        14.    Shortly after his arrest, Mack was in a general detention facility. During this

time, Mack told another inmate about the crime. Mack explained to the inmate that after he and

Frey left in the psychiatric ward and lived together in Frey's apartment, they watched many

horror and splatter videos on the internet as well as documentaries about serial killers. They

decided to become serial killers themselves and selected the victim as the first victim of an

intended killing spree.

        15.    Mack has admitted to police on multiple occasions, including in transit back from

Spain, that he stabbed and killed the victim with a knife. He has further asserted that Frey was

involved in the crime.

       16.     Frey denied being at the crime scene, however, the location data for Frey's phone

show that the phone was at the victim's house between 4:55:31 P.M. and 5:00:35 P.M. When

confronted with the geolocation data, she further claimed that she had given her phone to Mack

at the time of the murder.

       17.     In order to investigate Frey's assertion, German authorities request geolocation

data for Mack's Google phone associated with the account clnymack@grnail.com. Based on the

above information and other available evidence, German authorities have reason to believe that

records for the Google account associated with dnymack@gmail.com (including records

pertaining to use of Android, Web & App Activity, and Location History) will contain evidence

of Mack's location and activities leading up to and shortly after the murder that can then be

compared with Frey's location data.



                                                5
       Case 1:17-mj-00929-RMM Document 1-1 Filed 12/04/17 Page 6 of 12




                          BACKGROUND CONCERNING GOOGLE

         18.     In my training and experience, I have learned that Google Inc. provides a variety

 of on-line services, including e-mail access, to the public. Google Inc. allows subscribers to

 obtain e-mail accounts at the domain name gmail.com, like the e-mail account(s) listed in

 Attachment A. Subscribers obtain an account by registering with Google Inc. During the

 registration process, Google Inc. asks subscribers to provide basic personal information.

Therefore, the computers of Google Inc. are likely to contain stored electronic communications

(including retrieved and unretrieved e-mail for Google Inc. subscribers) and information

concerning subscribers and their use of Google Inc. services, such as account access information,

e-mail transaction infoimation, and account application information. In my training and

experience, such information may constitute evidence of the crimes under investigation because

the infoiniation can be used to identify the account's user or users.

        19.     A Google Inc. subscriber can also store with the provider files in addition to e-

mails, such as address books, contact or buddy lists, calendar data, pictures (other than ones

attached to e-mails), and other files, on servers maintained and/or owned by Google Inc. In my

training and experience, evidence of who was using an e-mail account may be found in address

books, contact or buddy lists, e-mail in the account, and attachments to e-mails, including

pictures and files.

       20.      The subscriber of a Google, Inc. e-mail account also can sign-up to utilize

additional services or functionalities offered by Google, including Google Plus (also referred to

as "Google+"), Google Photos, Google Hangouts, Google Chrome Sync, Web & App Activity,

Location History, and YouTube.



                                                 6
       Case 1:17-mj-00929-RMM Document 1-1 Filed 12/04/17 Page 7 of 12




        21.     Google Plus is a social networking platform that interfaces with or is otherwise

linked to the other Google-based services utilized by a particular Google Inc. subscriber. A

Google Plus user will have a publicly visible profile that displays status updates posted by the

user and certain other user-populated infoimation about the user, including a "tagline" describing

the user, a profile photo, background photo, cover photo, and other details about the user,

including the user's birthday, previous work and school history, interests, and places lived.

Google Plus users are able to communicate with, "follow" the profiles and activities of, comment

on posts made by, and share information posted by, other Google Plus users. A Google Plus user

also can elect to display on his or her Google Plus profile links to (a) the user's other social

networking profiles or accounts (including those that are non-Google-based), (b) websites for

which the user is a contributing author, and (c) links to any other web sites that are recommended

by the user.

       22.     Google Hangouts ("Hangouts") allows users to communicate in a variety of ways

including by text, voice, and video. A Hangouts user can, among other things, participate in

group conversations, share photos, maps, and other media with other users of Hangouts, and

place calls to landline, mobile, and internet-based telephone numbers.

       23.     Google Photos ("Photos") is a digital photograph and video storage area to which

a user can upload photos and videos from any platform and categorized these photos and videos

into albums, which can then be shared with other Google users.

       24.     If enabled by the user, Google Chrome Sync enables a user, to sync bookmarks,

history, passwords, and other settings across various devices when the user is signed into

Chrome on more than one device.



                                                  7
       Case 1:17-mj-00929-RMM Document 1-1 Filed 12/04/17 Page 8 of 12




         25.     If enabled by the user, Location History will cause the user's devices to report the

approximate geolocation of such devices back to Google over time. This location data is then

supplied to any applications (whether Google-based or otherwise) operating on the devices that

utilize user location information in order to enhance the applications' services.

        26.      If enabled by the user, Web & App Activity will save infoimation such as

searches in Google products like Google's search engine and Maps. Google will also save

information on the device like recent apps or contact names that the user searches for.

        27.     In my training and experience, internet services and e-mail providers generally

ask their subscribers to provide certain personal identifying information when registering for an

e-mail account. Such information can include the subscriber's full name, physical address,

telephone numbers and other identifiers, alternative e-mail addresses, and, for paying

subscribers, means and source of payment (including any credit or bank account number). In my

training and experience, such information may constitute evidence of the crimes under

investigation because the information can be used to identify the account's user or users. Based

on my training and experience, I know that even if subscribers insert false information to conceal

their identity, this information often provides clues to their identity, location, or illicit activities.

        28.     In my training and experience, e-mail providers typically retain certain

transactional information about the creation and use of each account on their systems. This

information can include the date on which the account was created, the length of service, records

of log-in (i.e., session) times and durations, the types of service utilized, the status of the account

(including whether the account is inactive or closed), the methods used to connect to the account

(such as logging into the account via the provider's website), and other log files that reflect usage

of the account. In addition, e-mail providers often have records of the Internet Protocol address

                                                    8
       Case 1:17-mj-00929-RMM Document 1-1 Filed 12/04/17 Page 9 of 12




 ("IP address") used to register the account and the IP addresses associated with particular log-ins

 to the account. Because every device that connects to the Internet must use an IP address, IP

 address information can help to identify which computers or other devices were used to access

 the e-mail account.

        29.     In my training and experience, in some cases, e-mail account users will

 communicate directly with an e-mail service provider about issues relating to the account, such

 as technical problems, billing inquiries, or complaints from other users. E-mail providers

typically retain records about such communications, including records of contacts between the

user and the provider's support services, as well as records of any actions taken by the provider

or user as a result of the communications. In my training and experience, such information may

constitute evidence of the crimes under investigation because the information can be used to

identify the account's user or users.

        30.    As explained herein, information stored in connection with an e-mail account may

provide crucial evidence of the "who, what, why, when, where, and how" of the criminal conduct

under investigation, thus enabling the investigating officials to establish and prove each offense-

element, or, alternatively, to exclude the innocent from further suspicion. From my training and

experience, I know that the information stored in connection with an e-mail account can indicate

who has used or controlled the account. This "user attribution" evidence is analogous to the

search for "indicia of occupancy" while executing a search warrant at a residence. For example,

e-mail communications, contact lists, and images sent (and the data associated with the

foregoing, such as date and time) may indicate who used or controlled the account at a relevant

time. Further, information maintained by the e-mail provider can show how and when the

account was accessed or used. For example, e-mail providers typically log the IF addresses from

                                                9
       Case 1:17-mj-00929-RMM Document 1-1 Filed 12/04/17 Page 10 of 12




which users access the e-mail account along with the time and date. By determining the physical

 location associated with the logged IP addresses, investigators can understand the chronological

and geographic context of the e-mail account access and use relating to the criminal activity

under investigation. This geographic and timeline information may tend to either inculpate or

•exculpate the account owner. Additionally, information stored at the user's account may further

indicate the geographic location of the account user at a particular time (e.g., location

information integrated into an image or video sent via e-mail). Finally, stored electronic data

may provide relevant insight into the e-mail account owner's state of mind as it relates to the

offense under investigation. For example, information in the e-mail account may indicate the

owner's motive and intent to commit a crime (e.g., communications relating to the crime), or

consciousness of guilt (e.g., deleting communications in an effort to conceal them from law

enforcement).

                                         CONCLUSION

       31.      Based on the forgoing, I request that the Court issue the proposed search warrant.

Because the warrant will be served on Google Inc. who will then compile the requested records




                                                10
      Case 1:17-mj-00929-RMM Document 1-1 Filed 12/04/17 Page 11 of 12




at a time convenient to it, there exists reasonable cause to permit the execution of the requested

warrant at any time in the day or night.

                                                    Respectfully submitted,


                                                    Dramous K. Lofton
                                                    Special Agent
                                                    Federal Bureau of Investigation


       Subscribed and sworn to before me on                                        ,.2017




       UNITED STATES MAGISTRA 1E, JUDGE




                                               11
       Case 1:17-mj-00929-RMM Document 1-1 Filed 12/04/17 Page 12 of 12




                                             Annex

                      Relevant Provisions of Germany's Criminal Code


Section 25: Principals

   1. Any person who commits the offense himself or through another shall be liable as a
      principal.

   2. If more than one person commit the offense jointly, each shall be liable as a principal -
      (joint principals).

Section 212: Manslaughter

   1. Whosoever kills a person without being a murderer shall be convicted as a
      manslaughterer and be liable to imprisonment of not less than five years.

   2. In especially serious casesLthe penalty shall be imprisonment for life.
